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CLOVIS MAXWELL
ORDER REFUNDING CASH APPEARANCE BOND

lt appears to the Court that the above-named defendant on the 24th day of March, 2005,
did cause a live thousand dollar ($5,000) appearance bond to be posted on his behalf by posting
10% or $500 in cash. Said $500 Was receipted in the name of Colise White, receipt #M93975,
having been deposited in the Registry Fund of this Court.

lt now appears to the Court that the defendant has complied with the requirements of said
bond and orders of this Court.

It is therefore ordered that the above-named defendant's appearance bond be cancelled and
discharged, and the Clerk is directed to issue a check iu the sum of live hundred dollars ($500),
payable to Colise White, 1127 S. Prescott St., Memphis, TN, 38111, in full refund of the cash

appearance bond posted herein.

Approved: é('-T"

S. THOMAS ANDERSON
Thomas M. Gould, Clerkk of Court UNITED STATES MAGISTRATE JUDGE

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This document entered on the docket sheet in compliance
with Rule 55 and/or 32(b) FRCrP on <Y '.3/'0 5

   

UNITED sTATE DISTRIC COUR - WESTERN D's'TRCT 0 TESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 54 in
case 2:02-CR-20461 Was distributed by faX, mail, or direct printing on
August 31, 2005 to the parties listed.

 

 

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Honorable S. Anderson
US DISTRICT COURT

